                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                         DOCKET NO. 3:14-cr-00229-MOC-DCK

 UNITED STATES OF AMERICA,                     )
                                               )
                                               )
                                               )
 Vs.                                           )                       ORDER
                                               )
 JAMELL LAMON CURETON,                         )
                                               )
                 Defendant.                    )



       THIS MATTER is before the court on defendant’s Motion for Return of Property (#45),

Motion to Dismiss (#62), Supplemental Motion to Dismiss (#125), and Motion to Unseal

Document #65 (#157).

       As to the Motion for Return of Property, the motion is granted in part and denied in part as

directed during the May 13, 2015, hearing. The government shall Bates stamp the original

privileged documents, make one copy of those Bates-stamped documents, file the Bates-stamped

copy under seal with the Clerk of Court, and then return the originals to counsel for defendant. As

to the non-privileged documents, the government shall Bates stamp copies of all non-privileged

documents that defense counsel has determined are ACP. A copy of those Bates-stamped

documents shall be provided to defense counsel, and defense counsel may then proceed to seek a

protective order or other relief as to those documents in a manner similar to that employed under

Rule 26, Federal Rules of Civil Procedure, by first creating a “privilege log.” Counsel are

encouraged, however, to meet and confer in an attempt to resolve this matter without further court

intervention. As Learned Counsel has now been appointed, no further motion shall be filed on

defendant’s behalf henceforth without approval of such attorney.



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       As to the Motions to Dismiss, the court will hold such motions open pending completion

of the review and supplementation by counsel as provided above

       As to the Motion to Unseal Document #65 (#157), document number 65 is a court Order

that has never been sealed. Reading the motion in a light most favorable to defendant, it appears

that defendant is instead attempting to unseal his own Reply (#67). Such relief will be allowed.



                                          ORDER

       IT IS, THEREFORE, ORDERED that the Motion for Return of Property (#45) is granted

in part and denied in part as provided herein, decision on the Motion to Dismiss (#62) and

Supplemental Motion to Dismiss (#125) is held in abeyance, and the Motion to Unseal Document

#65 (#157) is GRANTED as to defendant’s Reply, which is document #67.




 Signed: May 15, 2015




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